Case 3:23-cr-00055-DJH Document 29-1 Filed 11/29/23 Page 1 of 43 PagelD #: 106

Claude Drouet, LCSW

105 Lyndon Lane #203
Louisville, Kentucky 40202
502/552-0094

PO Box 6592

Louisville, Ky. 40206-0592

Claudecarrolldrouet@gmail.com

October 17, 2023

Honarable Judge David J. Hale
Judge, United States District Court
Western District of Kentucky

Dear Judge Hale:

| am writing to you regarding Mr. John Schmidt. | have known Mr. Schmidt since December 29,
2019 when he and his wife came to my office under urgent circumstances. He had been
discharged five days earlier from Peace UofL Hospital for a depression induced psychosis with
pronounced suicide ideation.

| have worked consistently with John since our initial meeting. He worked closely with the
superb psychiatrist | was able to refer him to, resulting in substantial abatement of depression
symptoms. In my opinion this depression stemmed greatly from his remorse and shame from
infractions he had engaged in with misappropriation of financial funds.

| understand this appears somewhat confounding, but | see John as a profoundly moral man
whose own actions perplexed him. | have seen poignant examples of this a few times in my
forty-one years of clinical practice, particularly when | was a Board member of Mayor David
Armstrong’s appointed Diversion Board for the Mentally II.

In light of John’s progress in following treatment recommendations it is my hope that his
sentencing can take account of his current life and commitment to personal integrity.

| will continue to work with John in whatever capacity | can and would happily cooperate with
court directives. | greatly appreciate your time and consideration.

My best regards,

Claude Drouet, LCSW —
Kentucky License 598

NPI 185-141-3058
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Claude Drouet, LCSW

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502/552-0094

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Claude Drouet, LCSW
Kentucky License 598
NPI 185-141-3058
Case 3:23-cr-00055-DJH Document 29-1 Filed 11/29/23 Page 3 of 43 PagelD #: 108

Hon. David J. Hale

District Judge

United States District Court
Western District of Kentucky

Dear Judge Hale,

. My name is Stephanie Schmidt Kelley and | am John Schmidt's oldest daughter. As long as I've
known my dad - 33 years to be exact - he’s encouraged my sister and | to tell the truth. Weoften
found ourselves in bigger trouble when we lied about breaking rules than whatever we did to
break them in the first place. This made the events of the last four years particularly difficult to
square with this image of my dad, until | found out what he’d been going through.

In December 2019, when my dad went missing and our family found out for the first time how
much he had been struggling, it was an incredible shock. | felt terrible that he didn’t feel like he
could ask anyone for help, that he had no options. But since then, we as a family have been
able to better understand his diagnoses and how it manifests itself. For my dad, it seems that
any action with any stakes was, and still can be, crippling. I've watched him work hard to commit
to crawling out of the darkness he was facing and take ownership of the mistakes he’s made.

I've always known my dad to be someone who prioritizes consistency, routine and ritual. He

worked at the same law office his entire career, lived in the same house for 30+ years, has been

with my mom for 33 years, raised us in the same parish where we went to school and

maintained friendships with people that essentially became family over the years. For my sister
_ and |, he provided a calm, loving presence that always put our needs first.

Since he started treatment and stopped practicing law, my dad has helped me through a major
transition in my life. My first son was born in May 2020. Through COVID, my dad would come
to my house in Louisville everyday to help watch my son when | went back to work remotely. |
was able to watch him find connection and purpose again, through not only caring for my son
but supporting me.

He helped me the entire first year of my son's life. When we sent him to daycare at one, we only
sent him three days a week so he could still spend time with his “pawpaw.” My second son,
Theo, was born in July 2022 and my dad was able to provide the same experience for him as
well, driving 40 minutes to and from my house everyday to support me and to care for my baby.
People are often surprised that my dad is the primary caregiver, besides my husband and I, to
my kids. For me, though, it’s simply a continuation of the dedication and support he offered my
sister and | as kids and as adults.

During these past four years, my daq’s life has become a simple one. He attends therapy, walks
his golden retriever, Penny, goes to church, attends a weekly golf game with a group of friends
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that offer his distraction and support, and he sees my boys any chance he gets. He plays an
incredibly important role in my children’s lives, honestly more than | ever imagined he could
have when | first found out | was pregnant.

| know that my dad made mistakes and hurt people as a result. But | truly believe that he is a

different person now than he was when he made them. The person he is now has the tools to

ask for help and a focus on supporting his family beyond financial means. | love my dad, am

confident he is not a threat to society and believe he would never make these mistakes again.
| appreciate your consideration of my opinion in your decision.

-. All'the best, ~

Stypans Kill,

Stephanie Schmidt Kelley
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October 25, 2023

The Honorable David J. Hale
District Judge
United States District Court
Western District of Kentucky

Dear Judge Hale,

lam writing this letter on behalf of my brother John Schmidt. Since | grew up with John, | feel |
have a unique understanding of his character. He has always been a caring family man. He is
very close and supportive of his wife, two grown daughters and two young grandsons. In fact
he has largely been a full-time babysitter during workdays for his grandsons until they were old
enough to begin full-time daycare attendance.

John has always been available to help me and my family with any legal issues. Helping with
wills, living wills and filing of yearly income taxes are examples of the things he handled for us.
Personally, when our mother died, he worked to make sure | could continue to live in our family
home and continue he to carry the mortgage with the beneficial forms.

Therefore | believe John should be granted as much leniency as possible. He is a good
brother, husband,father, grandfather and many of us benefit by his inclusion in our lives.

Respectfully,

Ralph J. Schmidt
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October 25, 2023

The Honorable David J. Hale
District Judge

United States District Court
Western District of Kentucky

Dear Judge Hale,

!am writing this letter on behalf of my brother-in-law John A. Schmidt. | have known John for
twenty eight years. During that time | have spent considerable time with him and his family.
John was a hands on Dad when his daughters were growing up. He was very involved in their
activities and they enjoyed spending time together. He remains very close to his daughters
and is very supportive of them.

John has two young grandsons. When the youngest was born in 2022 John began providing
daily childcare for Theo while his mother worked. | assisted with this childcare two days a
week. John is a wonderful grandfather. He is patient and attentive with both boys. He spends
quality time with them and they adore him. They continue to spend time with John and his wife
on weekends, which greatly enriches their life. Having him absent from their life for a period of
time is going to be very sad for them.

During his career John worked in Family Court as a Guardian Ad Litem for abused and
Neglected children. He took this job very seriously and was well respected by the attorneys
and social workers in that arena. Over the years John assisted us with drawing up wills and
living wills. He was always very thorough and professional.

John has been an active member of his church. He has assisted with delivering meals to the
needy on Thanksgiving Day, and performed other volunteer jobs when needed. His church and
faith has been an important part of his family’s life.

| respectfully ask that you take all of these things into consideration as you make your decision
on his sentencing.

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Hon. David J. Hale

District Judge

United States District Court
Western District of Kentucky

Dear Judge Hale,

I am writing on behalf of John A. Schmidt, who will come before you for sentencing in January,
2024. John is my brother-in-law; he is married to my older sister, Kathleen. John has been a part
of our family for about 45 years and I have always considered him to be, in many ways, the most
essential member of the family. He has provided the balance, perspective, and wisdom we have
needed to understand the true nature of some of our most difficult situations and thus help the
family make it through those situations as best we could. I would offer two examples, both
involving my and Kathleen’s mother, Diane Kallaher.

Our mother had struggled with a number of extraordinary challenges over the years. She
suffered from obesity, diabetes, and depression, which only got worse when our father passed
away in 1987. She supported herself by delivering papers and maintained a large route that she
drove every morning. One morning she got into an accident that was serious enough to make it
clear that she was no longer able to deliver papers. In the aftermath, Kathleen and I had to
confront just how much our mother’s condition had deteriorated, but we were still optimistic that
with time she would return to some kind of gainful employment and get on with her life, After a
respectful amount of time, John gently but firmly told us that we had to accept the near certainty
that our mother would never work again and start preparing accordingly. It was a tough message
- few people are ever fully prepared to accept their parents’ inevitable decline with age and other
infirmities - but it was what we needed to hear and it was essential in helping us think about what
we could actually do for our mother versus what we hoped we might be able to do.

John was also the voice of reason a couple of years later, when our mother became hospitalized
after a serious fall. As the complications began to compound, John once again tempered our
unrealistic optimism by telling us that we needed to prepare for the likelihood that our mother
would never leave the hospital or some other institutional setting. Again, it was not good news
but it was an important reality check that allowed us to reorient our thinking toward what our
mother really needed, which was good long-term in-patient care.

I have learned a lot from John in this regard, and have seen him as a role model over the years as
I’ve grown from being barely post-adolescent when we first met to being a married father of
three all these years later. I have also observed John in many other settings. I got the chance to
sit in on one of his sessions as a commissioner when I was visiting Shepherdsville a number of
years ago. John was patient and attentive, and treated everyone with respect and dignity. These
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were not major cases at all; quite the opposite, in fact. But John showed that he understood that
even a matter that might seem insignificant to a disinterested party can mean everything to the
people whose lives are affected by it. I took that to heart as a young lawyer and have tried to act
in a similar manner in all of my dealings with people, whether in a legal setting or otherwise.

I’ve also seen what John means to his immediate family. I know his older daughter relied on him
' as the primary child care provider for her infant son. As a parent myself, I know what that
means in terms of the trust she has in John.

It is for these reasons that I humbly ask you to show leniency toward John. I make this request
not because he is my sister’s husband. Believe me, there are others in similar familial proximity
to me on whose behalf I would be hard-pressed to write this kind of letter. Rather, I make this
request because I am confident that John’s extended separation from society would bring no
tangible benefit to anyone. He is clearly no longer in a position to be able to make the same kind
of mistakes that have put him in his situation and, moreover, I sincerely believe he has learned
what he would need to do to avoid putting himself and others in that position again. I understand
fully that justice requires you to do what you must do. I ask only that you use whatever
discretion is granted to you to temper justice with mercy in passing judgment on John.

Thank you for your kind attention.
Sincerely,
Chris Kallaher

162 Cypress Street
Brookline, Massachusetts 02445
Case 3:23-cr-00055-DJH Document 29-1 Filed 11/29/23 Page 9 of 43 PageID #: 114

Dear Judge Hale,

Iam -writing this letter on behalf of my brother-in-law, John Schmidt. John is scheduled to.
appear before you.on January 8, 2024. John has been married to my sister, Kathleen, since: 1980

and has:a wonderful family, including two daughters and two. grandchildren.

my family. Like all families, we have had issues arise when'we needed a-calmti and sensible
person to ‘help direct us in the right direction. J have asked him about.simple things~such as car
models to purchase—and also complex issues~ such as family matters— all while teceiving sound
advice with wisdom and understanding. No matter the-situation, his reasonable advice and.
comfort were always what I needed, He has been what all my family needed and continues to be
a light in the darkness.

John has been a.resident of Bullet-County for over'35 years‘stewatding his role in the
community to support and provide resources locally to those'in need. I ask that he be shown
leniency and mercy :from you. He is very mitch needed by his wife, daughters, ‘and certainly by

his grandchildren and me.

I hope you can find compassion for this. compassionate-man.

Thank you,

Ejleen Crum, RN, BSN
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Rev. Richard R. Lloyd Ill, Ph.D.
Pastor, First Baptist Church
599 Amanda Circle

Newport, TN 37821

October 15, 2023

Hon. David J. Hale,

District Judge Bo,
United States District Court
Western District of Kentucky

Judge Hale,

In 1994, | moved to Shepherdsville, KY, to pastor First Baptist Church. John Schmidt’s
Law Office was two blocks down the street. Being close to the same age with kids
around the same age, we soon became “lunch buddies,” and then soon “after-work _
basketball playing buddies,” and soon “social events with our family’s buddies.” The
UofL and UK game parties were the best. In other words, he became a good friend and
confidant. Because of a friendship that remains, | continue to call in to the UofL vs UK
parties, even after | moved to my current location in 2000.

When First Baptist Church Shepherdsville in the late 1990s needed representation on a
legal matter in court, our church turned to John based on his character and reputation
as he successfully represented us. | saw a steady stream of clients come through
John’s office when they needed help. As part of our lunch bunch, | witnessed respect
from his legal peers. | listened to him as he carried the burden of Domestic Relations
Commissioner for Judge Tom Waller as he dealt with parents on their worst day with
fairness, grace, and hope.

This is John’s worst day. His words to me are simply, “I'm ashamed.” In encouraging
him to return to his roots—returning to his church community—he simply refers to his
shame and unworthiness. So, | ask for the same ideals with which John used to rule—
fairness, grace, and hope.

The first 11 chapters of Genesis contain the stories of Adam and Eve, who “were naked
and ashamed” for their actions against God. God tossed them out of the Garden but not
before making clothes for them as they prepared for life outside the Garden of Eden;
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Cain killed his brother Able and, as a result, was banished from the Land, but not before
the Lord placed a “mark of protection” upon him; and God brought a flood upon the
Earth for the injustices done, but placed a rainbow in the sky promising that it would
never happen again. My read is that God always tempered His justice with His mercy.
And always with Hope on the other side.

That is my plea: fairness and grace... so that John has Hope!

John is now a grandfather who has days of the week where he is “Grandpa in charge”
when everyone goes to work, and he cares for his grandchild. | firmly believe that
John's sense of guilt will far outweigh any sentence imposed. It is my prayer and
commitment to him that rearmed with his faith—not for some “jailhouse confession,” he
can forgive himself, find again that there are people who care for him, find joy again in
being a grandfather, and in just walking his dog each day will again allow him to be a
productive member of his community. >

Thank you for your time.

Sincerely,

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November 5, 2023

Honorable David J. Hale
District Judge

United States District Court
Western District of Kentucky

Dear Judge:
My name is Rev. K. Michael Burchett. | am writing to you on behalf of John A. Schmidt.

I have known John for over 40 years. | met him as a client, saw a golf ball on his desk,
asked if he played golf. He said “yes,” and I said “Me Too.* We have been best friends
for those 40 some years. I doubt if anyone knows John better than I do.

He is considerate, kind, thoughtful, caring. I think you can see where I am going with this.
He is a good person. Always willing to lend a helping hand at church, working the picnic,
member of finance committee, helping at the YMCA. I am an ordained Deacon in the
Catholic Church, and as a result I minister to many people who are unfortunately poor.
Whenever anyone needs legal advice, 1 reach out to John for help. He has never let me
down or charged for his service.

Most importantly he has sacrificed his time for the love of his family. He drives
relentlessly to Prospect every day, not a short drive from Shepherdsville, to care for his
two grand children. Loving every minute of it! Sending me pictures of the baby a sleep on
his chest, or playing with them.

John is a good man who made a mistake. Please have leniency on him.

May God bless you and your service

Sincerely:

Rev. K. Michael Burchett
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Judge David Hale
Federal Courthouse
Louisville, Kentucky

RE: United States vs. John Schmidt
Dear Judge Hale:

lam writing to you in support of John Schmidt. My name is John Laun. | am a retired lawyer and
retired Bullitt District Judge. | have known John for over 40 years. He has been as good a friend
as a person could ask.

Judge Thomas Waller appointed John as Domestic Relations Commissioner in 1992. John
would hear these contested cases with people fighting over the most important items in their life.
John knew the law. He would listen to each side and treat all parties and attorneys with respect
and dignity. He tried to fashion decisions that were win-win for the parties. John was patient, fair
and kind. He served as Domestic Relations Commissioner for over twenty years.

Then, he served as a Mediator when the Circuit Judge would refer parties for mediation. Again,
he brought the qualities of patience and fairness to the people who came to him. He would not
tell people what to do. Rather, he helped them to reach an agreement that would meet their
needs.

John has been an active member of his parish, Saint Aloysius Catholic Church in
Shepherdsville. He served in the trusted position of chair of the Finance Council under
Pastors-Fr. Jerry Bell, Fr. Michael Tobin and Fr. David Nayltor.

John has also been active in the local community. He served as chair of the Board of Directors
for the Bullitt County YMCA for six years.

John has been married to his wife Kathleen for 43 years. He is father to two daughters and has
two grandsons.

Four years ago, John suffered a mental breakdown. He almost lost his life. Through therapy and
medication, he is in the process of healing. He is not well. He is very fragile mentally,
emotionally and physically, Today, he is a diabetic and in therapy and takes eight medications.

John has lost his law practice. He had to sell his office building. He is ashamed and feels that he
has let his family, his friends and himself down.

John is 67 years old, He has a forty year career of service to his community. The John portrayed
in the media is not the real John. The real John is a gentle, caring, compassionate person.
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John has displayed mercy and grace to all those who came before him or who he represented. |
hope that you can show him the same mercy that he has shown.

Thank you for your time and attention to this matter

Very truly yours

WO Cae

John D. Laun

168 Mill Run

Shepherdsville, Kentucky 40165
502-543-3344.
Case 3:23-cr-00055-DJH Document 29-1 Filed 11/29/23 Page 15 of 43 PagelID #: 120

Judge David Hale
Federal Courthouse
Louisville, Kentucky

Re: United States vs. John Schmidt

Dear Judge Hale:

My name is Anne Laun. I am a retired Registered Nurse with over forty years of service at
Norton Healthcare. | have known John Schmidt for over thirty years. He is a neighbor and dear
friend. John’s children and our children have been raised together. We are more like family than
neighbors.

John was very active in our former church, St. Aloysius Catholic Church, serving on various
committees and councils for a number of years. He has served on a volunteer basis and he has
given of himself for others.

John is always available to help my husband and me if we ever need anything. When my
husband lost his job, John was there to help and give support.

Our son, John, Jr.,needed a sponsor for his confirmation. He chose John because he was a
good role model of how to live a good life and how to treat others.

This may sound silly, but John is kind to all living creatures. He has had several dogs in the
years we have known him. The dog he has now is 13 years old and has been his constant
companion. | feel that it tells something about a person who is kind to animals as well as people.

Thank you for letting me share my opinions and feelings about John Schmidt. Thank you for
taking the time to read this.

ie

Anne Laun

168 Mill Run

Shepherdsville, Kentucky 40165
502-543-3344
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October 22, 2023

Honorable David J. Hale
District Judge

United States District Court
Western District of Kentucky

Dear Judge Hale,
My name is Susan Laun. I am writing to request leniency in the upcoming sentencing of John Schmidt.

| grew up in Bullitt County and have known John for most of my life -— our families have lived in the same
neighborhood since the early 1990s. Growing up, my twin sister and | played with his daughters. John
has always been a devoted father and a compassionate, supportive friend.

A devout Catholic, John has served his faith community at St. Aloysius Catholic Church through his
involvement in parish committees and activities when his daughters were students at the grade school.
John stood with my older brother as his confirmation sponsor. John has always taken his duty to his faith
and his church seriously — and has been unwavering in the call to serve his church.

Growing up, the Schmidt’s were an extension of my family. We have shared birthdays, celebrations and
holidays, including Christmas Eve at my parents’. We have celebrated weddings and supported each
other through grief. John has been an uncle to me, and | am grateful for his presence in my life.

In recent years, John has been a dedicated grandfather to his grandsons. He is more than a doting
grandpa, but also a loving caregiver — being a model and a teacher for his grandsons, just as he was to his
daughters and to my sisters, brother, and me when we were children. He is patient, generous, and kind.

John has been my dad’s best friend for more than 30 years. As any friendship lasting more than 30 years,
they have been there for each other through some of life’s biggest challenges. When my dad lost his re-
election bid for district judge in Bullitt County, John was there to provide comfort and solace. That’s how
| think about John — his constant presence in our lives. He has always been there for the highs and lows
of life with a comforting smile and a kind word. John is gentle and loving. He is friendly and welcoming.

Thank you for taking the time to read my letter and for your consideration of leniency in John’s
sentencing. Please do not hesitate to contact me if you have any questions or need further information.

Many thanks,
Susan Laun
Louisville, Ky.

susielaun@gmail.com
(502) 881-3588

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Roan & Roa

130 W. 2nd Avenue
Attorneys at Law
PO. Box 1196
Williamson, West Virginia 25661

Phone 304/235-7510

AJ. Ryan Fax 304/235-7511 Shaun M. Ryan

Licensed in KY & WV November 10, 2023 (1981-1986)

The Honorable Judge David J. Hale, District Judge
U.S. District Court, Western District of Kentucky

Re: JOHN SCHMIDT
Your Honor:

I have known John Schmidt since our first day of law school in August of 1978. Your Honor, if
you will recall, much of the teaching that we all received in law school was built around the
standard of a “reasonable man.” Then, all these years, and even today many of us still refer to
John as the “reasonable man.” John was the one of us who always did the right thing, always
thought of others first, and by far was always the most sensible of us.

Over the years, John has been my constant best friend the majority of my life. Whenever I was
perplexed with legal questions that I just couldn’t figure out, I would call the “reasonable man.”
If John said something then it was fact. We didn’t have to research it or question it any further.

_ We have been there for the birth of one anothers children and the death of one anothers parents.
Writing this letter is the one of the most difficult things I have ever had to do.

‘I know that these letters of character are supplied for probably every defendant that comes before
you. I am sure they are all glowing and represent most of the defendants to be just short of
sainthood. But I would as you, your Honor to listen to this plea. John Schmidt is the finest man
I have ever known and the runner up is not close. From what I can gather none of this was ever
done by John out of greed or self indulgence. John has never been one to be flashy or indulge in
luxuries or opulence. I blame myself to a certain extent, because I did not realize that my best
friend was sick. I know without any doubt whatsoever that John would never have committed
any illegal act without that being the case as what led to this.

Over the years if you had ask me which was more likely: that I would be writing this letter to you
or the earth had been invaded by Martians. I would have shook my head and said that we had
better batten down the hatches because we are about to be attacked. It is just unfathomable that
this would have occurred to any person that has known John to any extent whatsoever. John
wouldn’t even drop a golf ball in the rough. He is a good man and J would trust him with my
life.
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November 10, 2023
Page Two

Through my forty years of practice, Ihave done very little federal work and no federal criminal
work. So I have tio idea what federal guidelines call for and/or how much discretion is at your

- disposal. But I would plead with you again to use whatever discretion you have to be as lenient
on my friend as it is within your power to do so. Thank you for your consideration.

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Dr. Pamela A. Ryan PhD
171 Cedar Hills Dr.,
Pikeville, KY 41501

16/21/23
Re: John Schmidt
To: The Honorable Judge David J. Hale, District Judge, U.S. District Court, Western District of Kentucky

I have been blessed to know John Schmidt for thirty years. He has been a dear friend and loving extended
family member throughout these years. During this time, I have only witnessed positive attributes, such
as; empathy, generosity, and loyalty. I have always witnessed a strong sense of integrity, displayed by him
being honest and virtuous. Due to these traits, 1 was surprised to hear of his current legal situation. John
has been nothing but a positive role model for my children, and a mentor to my adult sister who chose a
career in law. For these reasons, I ask the judge to show leniency.

John Schmidt has always been a positive role model for my children, ages 21 and 16. He has actively
participated in their academic goals, attended numerous athletic events that they participated in, and most
importantly he has guided them throughout their growth as a christian. He has been understanding of my
daughter's vision deficits and assisted in seeking treatment and developing her psychoeducational plan.
He has sought out coaches and trainers to help my son in his baseball development.

Professionally, he has assisted me in forming my practice corporation, as well as with any licensing
questions. Fortunately for me, I have been licensed and have established a successful practice going on
twenty eight years. | credit John Schmidt for this opportunity to succeed. In addition, my sister chose to
go into the legal profession. He shared his insight, knowledge, and counseled her down the path to
becoming a practicing attorney in Massachusetts.

Having known John for thirty years, I have also developed close relationships with his family. He has
been a caring father, supporting his children as they flourish in their unique and individual goals. No
matter their interests or career paths, John has always been a devoted father and husband.

It is my sincere hope the court takes this letter into consideration at the time of sentencing. Despite the
current case, I believe John Schmidt to be an honorable individual, a valued member of his community,
and a wonderful human being.

Sincerely,
Dr. Pamela A. Ryan PhD

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Anne McAfee

217 Meadowood Drive

Mount Washington, Kentucky, 40047
(502) 640-0063
anne.mcafeelaw@gmail.com

October 20, 2023

Honorable Judge David J. Hale

Judge of United States District Court, Western District of Kentucky
Gene Snyder United States Courthouse

601 West Broadway, Room 239

Louisville, Kentucky 40202

Re: Sentencing of John Schmidt
Dear Judge Hale,

My name is Anne McAfee. I graduated from the University of Kentucky College of Law in 1976.
My experience includes teaching as an Adjunct Professor at Western Kentucky University,
serving as Managing Attorney for Cumberland Trace Legal Services, Public Defender and
Assistant Commonwealth Attorney in Bullitt County, and as a solo practitioner.

I have known John Schmidt since he came to Bullitt County in 1981. John served Bullitt County
in several roles, including as Domestic Relations Commissioner where his mild-tempered
demeanor and intelligence facilitated the private bar in the presentation of hundreds of contested
divorces. His decisions in those cases were impartial and wise. Throughout his career, John was
well liked and respected.

On a personal level, my relationship and friendship with John mean a great deal to me and my
daughter. I’m a single mother that found great comfort and help in his committed, dedicated
presence in my daughter’s life as a father-figure. His central role in my daughter’s life started
with him and his wife, Kathleen, hosting a baby shower for me in 2001. Beginning in 2002, I
practiced across the street from John until I became Assistant Commonwealth Attorney in 2018.
We visited each other several times daily when he would walk his dog, Penny. He has always
made himself available to me and has given me invaluable parenting advice.

I appreciate your time and consideration and I hope for leniency from this honorable court. John
is a good, family-oriented man who is devout in his faith and respected in his community.

Respectfully,

Anne McAfee
Case 3:23-cr-00055-DJH Document 29-1 Filed 11/29/23 Page 21 of 43 PagelD #: 126

Lucy McAfee

217 Meadowood Drive

Mount Washington, Kentucky, 40047
(502) 409-2718
lucy.m6711@gmail.com

October 16, 2023

Honorable Judge David J. Hale

Judge of United States District Court, Western District of Kentucky
Gene Snyder United States Courthouse

601 West Broadway, Room 239

Louisville, Kentucky 40202

Re: Sentencing of John Schmidt
Dear Judge Hale,

My name is Lucy McAfee, I am a third-year law student at Vanderbilt University Law School. I
am writing on behalf of my long-time family friend, John Schmidt, to request that you show
leniency in his sentencing scheduled for January 4, 2024.

I have known John since I was adopted about twenty-one years ago. I knew John through his
active role as a pillar of the legal community and through his law office’s location across from
my mother’s. In addition to his role as an attorney and advocate for his clients, John would run
March Madness and National Football League brackets to build camaraderie amongst the
attorneys practicing in Bullitt County.

Outside of helping his clients, John has helped me develop professionally by always welcoming

- me in his office, allowing me to shadow him, and helping cultivate my interest in becoming an
attorney. Personally, John has always supported me and my mother as a friend and as family.
Every year, John and his wife, Kathleen, would invite my mother and me to their Kentucky
versus Louisville football and basketball parties. When I was searching for a middle school to
attend, John recommended and helped get me into his parish’s school, St. Aloysius. As an avid
golfer, John took me golfing and shared tips when I played in high school. We have eaten several
meals together and shared countless family moments, including his eldest daughter’s wedding,
his two grandsons’ births, and my graduation from college and acceptance to law school.

Thank you for taking the time to review this letter, which I hope shows that, at his core, John is a
family man. I believe that John deserves leniency in this case because of his contributions to his
community through his active mentorship and leadership roles in shaping the next generation.

Respectfully,

Ace.

Lucy McAfee
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October 31, 2023

The Honorable David J. Hale
District Judge

United States District Court
Western District of Kentucky

Judge Hale,

Tam writing on behalf of John Schmidt asking that you show leniency with his sentencing in his
case before you. John and Kathleen have been our next-door neighbors for 31 years; our three
children - Erica, Lindsay, and Raine grew up with their daughters Stephanie and Erica. I have
seen John’s relationship with his girls and now his relationship with his grandchildren, he is a
loving, caring father and grandfather who gives his time unconditionally to his family. His
absence for any amount of time would be devastating.

Over the years, John and I have grown very close, not only is he our family attorney (he prepared
our wills, advanced directives, and power of attorney documents), but he is also a trusted friend
and confidant. John is someone I can always talk with about whatever concerns me: from issues
with our kids to my health concerns, politics to sports (on which we agree to disagree). I know
that his counsel is always compassionate and in my own best interest. He and I have also from
time to time teamed together in charity golf scrambles for his church, St. Francis Xavier, in Mt.
Washington, Kentucky along with events for other charities, we have both supported. He gives
his time selflessly in all these events.

In closing, I can't presume to offer any opinion on the facts of his case. All I can do is testify to
the qualities of the man I know John to be - as a neighbor, a friend, a father, and now as a
grandfather. I graciously ask you to consider all these factors and be lenient in his sentencing.
Thank you for your kind attention.

Respectfully,

fo hay GF

James Kelly Cleavinger, Jr. .
144 Grindstone Drive
Shepherdsville, KY 40165
Case 3:23-cr-00055-DJH Document 29-1 Filed 11/29/23 Page 23 of 43 PagelD #: 128

November 5, 2023

Judge David J. Hale
District Judge, U.S.D.C.
Western District of Kentucky

I am writing to urge leniency in the sentencing of John Schmidt. I have
known John and his family for 30 years. I grew up down the street from
the Schmidt family and remain close friends with his daughters.

I’ve been on several family vacations with the Schmidts and have
shared many family dinners. I have good memories of him quizzing his
daughters and I about UK basketball, taking us out for ice cream, and
funny family debates.

I have always known John to be a kind, considerate person who has a
fondness for golden retrievers. He is devoted to his wife, daughters, and
grandsons. Separating John from his family will be very devastating.
Please remember his family and show leniency at his sentencing.

Sincerely,

Ann Krajewski

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Case 33-cr-00055-DJH Document 29-1 Filed 11/29/23 Page 24 of 43 PagelID #: 129

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Case 3:23-cr-00055-DJH Document 29-1 Filed 11/29/23 Page 27 of 43 PagelD #: 132

October 8, 2023

Hon. David J. Hale, Judge
United States District Court
Western District of Kentucky

Dear Judge Hale:

lam writing this letter regarding John A. Schmidt with the hope that it will show you the John Schmidt |
know and what kind of person he really is. He has always been well regarded among his peers.

| have known John his entire legal career, which is 40 plus years. Upon graduation from law school John
joined the firm where | was employed. Through the years he has been a co-worker, a boss, and most of
all, a friend. He ran a family oriented office. if we had a sick child we stayed home; if there was a family
crisis he gave us time to take care of it, and he never required us to make up the time missed. He was a
thoughtful and caring person, and a pleasure to work with.

As a lawyer he was generous with his time, friendly, dependable and compassionate, and he treated
everyone with respect. He worked diligently for his clients and gave his all to his practice. John has
personally helped me and members of my family on many occasions with legal issues and never charged
a fee.

John has a strong commitment to family. He is a father of two and grandfather of two, and family
always came first. He and his family are members of St. Aloysius Catholic Church. His daughters went to
schoo! there. John has given many hours of his time throughout the years serving on several
committees and assisting with legal issues and other Church projects.

| am aware of the charges John is facing as a consequence of his actions. Hopefully that is not the only
thing you will look at when imposing a sentence. | believe without a doubt that he is remorseful for
what he has done, and [ plead for leniency in his sentencing.

Sincerely,

Marilyn M. Riemer

ADDRESS:

331 Salt River Drive
Shepherdsville, KY 40165
Phone: (502) 543-6408
Case 3:23-cr-00055-DJH Document 29-1 Filed 11/29/23 Page 28 of 43 PagelD #: 133

October 3, 2023

Honorable David J. Hale, District Judge
United States District Court
Western District of Kentucky

Honorable Judge Hale,

| first met John Schmidt when my family joined St. Aloysius in 1994, several years later
our daughters were classmates and friends at the parish school. John and | attended
many committee meetings together for our church and school as we both served, at
various times, on the school board, financial and parish council. On these committees |
worked with John on making decisions for our parish community and leading fund-
raising projects. John was always willing to help and provide legal guidance when
needed.

My husband and | asked John to be our closing attorney when refinancing and when
purchasing another property. Several years later we went back to John when we
needed estate planning documents. Then, when our 20-year-old daughter was planning
a 9-month trip out of the county, | called John and asked if he could draft a Power of
Attorney for her "just in case". John gladly expedited that document for our daughter
and at no charge. | could not thank John enough for that gesture as the "just in case”
did happen and | had to use that POA while our daughter was in a very rural area of
Central America.

I'm writing to you to ask for leniency for John. Through all the years that I've known
John and his family there are a few things that stand out. John has always been ready
to help anyone in any way he can however, the one thing that is most important to him
is his family. John's wife is a dear friend of mine, so I've witnessed firsthand through
many years how much he is dedicated to his family. Nothing means more to him than
his wife, daughters, and grandsons.

z you for your time.
Caen Dy.

Kathleen Seger
Case 3:23-cr-00055-DJH Document 29-1 Filed 11/29/23 Page 29 of 43 PagelD #: 134

Carol Stephenson
260 Big Cedar Creek Trail
Shepherdsville, KY 40165

October 3, 2023

Hon. David J, Hale, District Judge
United States District Court
Western District of Kentucky

Dear Judge Hale:
I'm writing to you on behalf of John Schmidt to express my support.

i've known John Schmidt since 1999, both personally and professionally, when our children were friends
and classmates at St. Aloysius Catholic school, Shepherdsville, KY. We also served together on the parish
counsel for St. Aloysisus church where John was on the Finance committee.

Our whale family became quick friends with the Schmidts where we have enjoyed get-togethers In the
Schmidt home, as well as sought out each other during various Parish social activities, largely in part due
to John’s laid back and affable personality. His deep commitment and involvement to his daughters was
obvious, and extended to one of my daughters who was close te his daughter in elementary school.

When | was going through my divorce in 2002, he was the Domestic Relations Commissione r, charged to
handle divorces in Bullitt County, but had the presence of mind to recuse himself due to his friendship
with both me and my ex-husband.

Professionally, he was my attorney in advising and drafting my Last Will and Testament in 2016.

Your Honor, | am requesting that you grant leniency to John Schmidt. I’ve only ever witnessed goad in
John and know he will continue demonstrating his devotion to his wife, daughters and grandchildren, as
well as his good deeds to his friends and community at large.

Thank you for your consideration.

Carol Stephenson

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October 11, 2022

Hon. David Hale

District Judge

United States District Court
Western District of Kentucky
c/o kks01 @aol.com

Re: John Schmidt
. Dear Your Honor,

Iam sending my sincere support and concern for the aggressive punishment that is
being considered to John. I am not an attorney or a financial person, but I know
John made a mistake and meant no harm to anyone.

I met John while our children were attending St. Aloysius school & First Baptist
Preschool in Shepherdsville. He and his family were amazing friends and I
worked fundraising and supporting the church and school with them. We also
employed John for our personal Will and even consulted for a divorce where he
was direct and comforting. The divorce didn’t happen, and I know he was happy
for us. I am very sad that this happened and may learn all the details one day, but I
hope and pray you will consider the facts that John should not be punished more
harshly than some of the other criminals that are in our court system.

I know the charges and law will be for you to decipher, but please consider the
family and friends and surely the lesson that was taught with this situation. Please
be lenient as you review the unsurmountable good John has done in our
community. I believe he is and always will be someone I could count on, like I did
25 years ago, and I treasure the memories and friendship of his wife and two
daughters. The family will stay in my thoughts and prayers through this process,
and I look forward to some silver lining that can appear in very dark clouds.

Sincerely,

Moni Ce Sivert
Case 3:23-cr-00055-DJH Document 29-1 Filed 11/29/23 Page 31 of 43 PagelD #: 136

Rose Marie Haley
112B Lanai Drive
Shepherdsville, KY 40165

Hon. David J. Hale, District Judge
United States District Court,
Western District of Kentucky

Dear Hon. David J. Hale:

I am writing in regards to my friend John Schmidt. John and I have
been friends ever since I moved to Bullitt County. We both attend St.
Aloysius Catholic Church. We have served together on the Finance
Committee. In that capacity, John was very knowledgeable about the
needs of the parish and how best to make the most of what was needed to
operate the parish. He attended Mass regularly and was available to help
out with the Parish Picnic and the Annual Social.

John is also a very caring family man. He was involved with both his
girls. And proud of both of them.

He has helped both my husband and I with several legal matters.
When I became a victim of identity theft, both John and Kathleen were
very supportive in a very long and drawn out ordeal. John took care of
updating our wills and other personal matters.

I hope you will see the John that we know. A man interested in his
community, his church, devoted to his family and a good friend.

Sincerely,

(Cece Maree
Case 3:23-cr-00055-DJH Document 29-1 Filed 11/29/23 Page 32 of 43 PagelD #: 137

*

Dear Judge Hale,

| hope this letter finds you in good health and high spirits. | am writing to
request your kind consideration and show leniency in the case of John
Schmidt, whom | have known for over 15 years as a friend and fellow
community member.

| have had the privilege of serving alongside John on several church boards at
St. Aloysius, where we worked together towards the betterment of our
community. Throughout our years of knowing each other, John has
consistently exhibited exceptional dedication and selflessness when it comes
to volunteerism and supporting those in need. For instance, he actively

. involved himself with the YMCA, and advocating for individuals and families

_ who could not afford legal representation.

On a personal level, | have witnessed John's genuine love for his family, his
strong faith in God, and his unwavering commitment to serving his
community. He has consistently shown compassion, integrity, and a deep
sense of responsibility towards others. His loyalty and willingness to lend a
helping hand have earned him the respect and admiration of many in our
community.

Considering John's outstanding character and his extensively positive
contributions, | earnestly request your leniency in making your decision. |
believe that his past actions and the impact he has made in our community
should be taken into account during this difficult time.

| trust in your wisdom and impartiality, Judge Hale, as you assess John's case.
Your decision will undoubtedly carry significant weight, not only for John but
also for his loved ones and the community he has served diligently for so
many years,

Wishing you continued success in serving our Community with fairness and
compassion.

Sincerely,

Pv ba La
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17 October 2023

Dear Hon. Judge David J. Hale, District Judge, United States District Court, Western District of
Kentucky,

| have known John for most of my life. We first met through his daughter, Stephanie, who is
my oldest friend. Stephanie and | stayed classmates all the way from Kindergarten to Senior
Year, and John was a constant presence in my life. My relationship with the Schmidts started at
St. Aloysius. During that time, | recognized John's dedication to faith and family. John acted as a
quiet but strong leader at St. A, inspiring and encouraging members of the community. He was
always present at school and church events, and John continued to demonstrate the
importance of adhering to one's values by leading through example during my formative years.

Stephanie and | continued our education at Bethlehem High School. As we were commuting
from Bullitt County to Bethlehem and playing on the volleyball team, John's parental duties
expanded to chauffeur. John facilitated thought provoking discussions on our many rides to and
from Bardstown and taught me the value of an objective and well educated debate. He's also
one of the first people who taught me to drive! John was very proud of his Bullitt County girls'
successes, and this was evidenced by his consistent supervision and support.

Stephanie and | went our separate ways for our postsecondary educations, but | remained
close with her and the entire Schmidt family. When my father passed away unexpectedly, John
reached out to me to help with all of the unfortunate and often unplanned legalities which
accompany losing a loved one. I can honestly say | do not know how | would have managed
during that time without John. His time and expertise were given so graciously, and | will
forever be grateful.

Throughout the years | have known John, he has served me in multiple roles: parent,
mentor, lawyer, and friend. | have witnessed certain attributes of his disposition during the
time | have known him- objectivity, fairness, trustworthiness, and dedication. | offer no
judgment or expertise on his current legal position and speak only to the character of the man |
knew at pivotal and influential times in my life.

Stephanie McCauley Creed
Case 3:23-cr-00055-DJH Document 29-1 Filed 11/29/23 Page 34 of 43 PagelD #: 139

Halico Facility Services

October 14, 2023

To whom it may concern,

lam writing this letter on behalf of John Schmidt. | have known John for over 20 years personally and professionally. John
and | worked together as volunteers when | was the Chairman of the Bullitt County YMCA and the Chair of the St. Aloysius
Picnic and Fund-Raising Committee. John has also represented me and my business in legal matters in the past. John
offered his legal advice and his personal time to many community efforts over the years and was always there when
needed. | have a personal relationship with John’s family, and | have always known John to be a giving and caring person.
While | am disappointed in the need for me to write this letter, | am not disappointed to have John as a friend, colleague,
and former legal advisor. | would urge you to look at and consider the whole of his life’s work when making your decision.

Respectfully submitted.

Charlie Hall, CBSE
President

102 Cherry Hills Lane
Louisville, Kentucky 40245
502.437.4279

www. halicofs.com
Case 3:23-cr-00055-DJH Document 29-1 Filed 11/29/23 Page 35 of 43 PagelD #: 140

October 30, 2023

Dear Judge David Hale:

I am writing this letter in support of John Schmidt. I have known John for over 25
years. He was the personal attorney for my husband and I for several years. John
prepared our wills, health surrogates and powers of attorney. In addition, John was also
of great assistance to me when I dealt with some issues pertaining to wills and power of
attorney for my mother who was suffering with Alzheimer's. John was very supportive to
me both as a friend and attorney in getting through the estate probate and settlement.

I first knew John as fellow member of St. Aloysius Catholic Church in
Shepherdsville. John and I served on the finance committee for our parish for several
years as it is a committee to which one is appointed by the pastor. I found John to be very
knowledgeable and broad-minded but also conservative.

I also knew John and Kathleen on a personal level, as well as the girls. We did have
mutual friends and attended parties and events with them. I know John is very proud of
his wife and girls and loves them unconditionally.

On a lighter note, he also loves his Kentucky Wildcats and if you are a Louisville
Cardinal fan please don't hold that against him.

I trust you will be fair in considering the sentence for John. Thank you for your
consideration of this letter.

Sincerely,

Doris Butlock
3228 Bells Mill Road

Shepherdsville, KY 40165
502-645-7355
Case 3:23-cr-00055-DJH Document 29-1 Filed 11/29/23 Page 36 of 43 PagelID #: 141

October 30, 2023

The Honorable David }. Hate

District Judge Western District of Kentucky
Gene Snyder United States Courthouse
601 West Broadway, Room 239 .
Louisville, KY 40202,

Mrs. Denise Guelda
2507 Cambridge Drive a
Shepherdsville, KY 40165.

John helped my husband and me prepare wills and guardians for our then minor children. He advised us‘on how to handle the
future. As a parent, the future of my children, in the event that something should happen to me and my husband, was a crucial.
and emotional subject. Family being a top priority Is a common belief that John.and| share. Prior-ta MAY parents using John to

prepare thelr estate documents, my parents had been to a few lawyers, including elder law attorneys, Those lawyers were

Beyond knowing and trusting John for legal matters, | witnessed him and his wife, Kathleen, raising their two daughters from:
childhood to graduating grade school, then high school and later college. John is.a family man that loves his wife and daughters
-_ and grandchildren beyond measure. His bride was very evident when | would see them at church of while attending extra-
... Curticular activities that his children were Involved In, whether that be talent shows, plays, or cross counity:meets,

John was very essential in the St, Aloysius community, John served on the Finance Committee, scholarship committee, and he
worked the money room for the church picnic many years. “These. positions came with great responsibility, trust and discretion.
He gave tirelessly of his time and talents anid provided community Service throughout the years. o

- fully respect the legal process and the coiirt's authority and humbly request your honor to consider lenlency in sentencing.

Thank you for your time, consideration, and understanding in this situation.
Respectfully, a .

Mrs. Denise Guelda _

 Guelda.darn@emati.com

502-718-6071
Case 3:23-cr-00055-DJH Document 29-1 Filed 11/29/23 Page 37 of 43 PagelD #: 142

October 26, 2023

Honorable David J. Hale
District Judge,

United States District Court
Western District of Kentucky

My name is Charles C. Cheser, and | am writing this letter on behalf of my very good friend of approximately 35 years,
Mr. John Schmidth. John’s Family and mine have been good friends, have gone to church together, have on occasions,
like Christmas, Partied together.

John has been our family attorney.

John has written our family will.

John served as Probate for my Mother Jane E. Cheser will, after her passing.

John wrote my brother Donald L. Cheser’s Power of Attorney, before his passing with Cancer.
John served as Probate for my sister Caron S. Cheser will, after her passing.

John has been an excellent family attorney.

John Schmidth has served many other Bullitt County, Kentucky families with Honor, Dedication, and Honesty.
John Is a wonderful Father, Husband, Family Man, and most of all Friend.

j still can’t understand the charge’s, this is not the man | know, and have known for all these years.
| would ask Judge Hale to consider John’s record as a Lawer for Bullitt County, Family Man, and please consider Leniency.

Thank You,
Charles C. Cheser

ruler 2). (Chrwe—

1703 Cambridge Court
Shepherdsville, Kentucky 40165
Case 3:23-cr-00055-DJH Document 29-1 Filed 11/29/23 Page 38 of 43 PagelD #: 143

Honorable David Hale,

Thank you for taking the time in reading this and giving consideration

To John.

We have known John and his family for many years. Our families have
Intertwined thru work and play. From the children in school, to the legal
Work that john helped us with over the years. John was very much involved
With helping out at church. He always had a calm demeanor that was

Helpful when different factions were starting to clash.

All of us make bad decisions through life. The main thing is to learn from it
And bounce back and be a productive part of society. Please consider getting

John back into society as soon as possible.

Thank You

Karen and Mike Robey
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November 7, 2023

The Honorable David J. Hale
District Judge
United States District Court

Western District of Kentucky

Dear Hon. David Hale,

Regarding: John Schmidt

lam writing today in support of leniency in rendering sentence for John Schmidt. | have known
John Schmidt and his wife Kathleen since my husband, the late Thomas Lee Waller, Sr, was
elected Circuit Judge for the 55th District of Kentucky, for which he served two terms. Prior to
that, he served as Commonwealth Attorney for Bullitt County. | had many occasions to observe
Judge Waller in the course of his duties while | supervised Child Protective Services from 1980
through 1993. | found Tom to be a man of high character and professionalism.

Tom Waller appointed John Schmidt to the position of Master Commissioner during his first
term. Though not familiar with all roles he was assigned, | am aware of cases in which he served
as negotiator and fact finder in bringing about resolution in family cases. He resolved cases
with the most professional manner possible. Tom was pleased with John Schmidt's
effectiveness in these cases.

tn addition to John Schmidt's assigned position it was not uncommon to recommend his
services to friends in need of obtaining counsel. John was consistently kind and responsible in
assuming any of these duties.
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| knew John as an active participant in the community. He was very involved with othe3
professionals in sports activities at the First Baptist Church in Shepherdsville. He and then
pastor at the time, Dr. Rich Lloyd, maintained a close relationship.

| sincerely ask that the Court provide leniency in the sentencing of John Schmidt. | am deeply
appreciative of your consideration of this request.

Linda Worsham Waller

(502) 593-1728
Case 3:23-cr-00055-DJH_ Document 29-1 Filed 11/29/23 Page 43 of 43 PagelD # 148

Oetoher 27, 2023

Osfene Mann
254 Hardy Lane
Mt. Washington, Ky. 40047

Hon. David) Hale, District Judge
_ United States District Court
Western District of Kentucky

"Re: Jahn Anthany Schmidt
Yo the Honorable ludge David J Hale:

_ My name js Darlene Mann, and tam wtng on behalf of John Schmidt who will be appearing before y you
for sentencing.

Mr. Schmidt and | have been friends for over 30 years. In that time, I have known him to be a kind and
generous man. He is a loving husband and doting father and grandfather. He has been an active and
faithful member of his church and has been involved in numerous community programs.

When my father passed away in 2014, John is the person | called to help settle my father’s estate. There
were issues with the heirs of my deceased brothers’ Inheritance and with my father’s wife. He was kind
and sympathetic and guided me through the problems with ease and patience. He also drew up my and
my husband's will, living will, and power of attorney.

i humbly ask you to show leniency to John when sentencing and | hope this letter will serve as a positive
factor when the court decides his sentencing.

Sincerely,

